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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

DANA LAMB, and ACCESS NOW, INC.,

                            Plaintiffs,
vs.                                             Case No.   2:05-cv-93-FtM-33DNF

CHARLOTTE   COUNTY,    a   political
subdivision of the State of Florida,

                    Defendant.
______________________________________/

                                        ORDER

        This matter comes before the Court pursuant to Defendant’s

Motion for Attorneys’ fees and costs (Doc. # 74), which was filed

on May 22, 2006; Plaintiffs’ Motion to Stay Ruling on Defendant’s

Motion for Attorneys’ Fees and Costs Pending Appeal (Doc. # 77),

which was filed on June 1, 2006; and Plaintiffs’ Unopposed Motion

for    Extension      of   Time   to   Respond    to   Defendant’s   Motion   for

Attorneys’ Fees and Costs (Doc. # 78), which was filed on June 1,

2006.

        In an order dated April 21, 2006, this Court dismissed

Plaintiffs’ case for lack of subject matter jurisdiction. (Doc. #

66).    Defendant seeks attorneys’ fees and costs (Doc. # 74).

        The   Court   denies      Defendant’s    motion    for   attorneys’   fees

because, as this Court dismissed the case under Federal Rule of

Civil Procedure 12(b)(1), this Court never reached the merits of

the case. The Court determines that Defendant is not a “prevailing

party” as defined by Buckhannon Board and Care Home, Inc v. West

Virginia Health and Human Resources, 532 U.S. 598, 604 (2001). The
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Supreme Court’s discussion of the definition of “prevailing party”

for purposes of awarding fees in civil rights cases guides this

Court’s analysis.       The Court explained that there must be a

material alteration of the legal relationship between the parties

for there to be a prevailing party for purposes of awarding

attorneys’ fees:

      In addition to judgments on the merits, we have held that
      settlement agreements enforced through a consent decrees
      may serve as the basis for an award of attorney’s fees.
      Although a consent decree does not always include an
      admission of liability by the defendant, it nonetheless
      is a court-ordered change in the legal relationship
      between the plaintiff and the defendant. . . .
      [J]udgments on the merits and court-ordered consent
      decrees create the material alteration of the legal
      relationship of the parties necessary to permit an award
      of attorney’s fees. It seems clearly to have been the
      intent of Congress to permit an interlocutory award only
      to a party who has established his entitlement to some
      relief on the merits of his claim, either in the trial
      court or on appeal.

(Internal citations omitted).

      Finding that this Court’s order dismissing Plaintiffs’ cause

for lack of jurisdiction did not touch upon the merits of the case,

this Court determines that Defendant is not a “prevailing party.”

It is therefore unnecessary for this Court to analyze this case

under the spectrum of Christiansburg Garment Co. v. EEOC, 434 U.S.

412, 421 (1978), which states, “A district court may in its

discretion award attorney’s fees to a prevailing defendant in a

Title VII case upon a finding that the plaintiff’s action was

frivolous, unreasonable, or without foundation, even though not


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brought in subjective bad faith.”)1

        Thus, the Court denies Defendant’s request for attorneys’ fees

and costs.

        Accordingly, it is

        ORDERED, ADJUDGED, and DECREED:

(1)     Defendant’s Motion for Attorneys’ fees and costs (Doc. # 74)

        is DENIED.

(2)     Plaintiffs’ Motion to Stay Ruling on Defendant’s Motion for

        Attorneys’ Fees and Costs Pending Appeal (Doc. # 77) is DENIED

        AS MOOT.

(3)     Plaintiffs’ Unopposed Motion for Extension of Time to Respond

        to Defendant’s Motion for Attorneys’ Fees and Costs (Doc. #

        78) is DENIED AS MOOT.

        DONE and ORDERED in Fort Myers, Florida, this 20th day of June

2006.




Copies:     All Counsel of Record




        1
       The holding of the Christiansburg case applies to ADA cases.
Bruce v. City of Gainesville, 177 F.3d 949, 951-52 (11th Cir.
1999).

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